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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-2989-MDL-ALTONAGA/Torres
  In re:

  JANUARY 2021 SHORT SQUEEZE
  TRADING LITIGATION
                                                 /
   This Document Relates to:
   Jimmy Lomax et al v. Robinhood Financial LLC
   et al. – Case No.: 1:23-cv-20768-CMA

   Ryan Wong et al v. Robinhood Financial LLC et
   al. – Case No.: 1:23-cv-20764-CMA

   Hollenback et al v. Robinhood Financial LLC et
   al. – Case No.: 1:23-cv-20725-CMA

   Shah v. Robinhood Financial LLC. –
   Case No.: 1:23-cv-20770-CMA
                                                 /

                          NOTICE OF APPEARANCE OF COUNSEL

           Please take notice that Rebeca Martinez from the law firm of Napoli Shkolnik NS PR

  Law Services, LLC, hereby enters his appearance as co-counsel in the above-captioned matter

  on behalf of Plaintiffs Jimmy Lomax, Ryan Wong, Daniel Hollenback, Maulik Shah, both

  individually and on behalf of all others similarly situated, and requests that copies of all

  motions, notices, pleadings, orders, and other correspondence be forwarded to the undersigned

  counsel.

               Dated June 30, 2023.                    Respectfully Submitted,
                                                        /s/ Rebeca Martinez
                                                        Rebeca Martinez, Esq.
                                                        FL Bar No.:1026814
                                                        NAPOLI SHKOLNIK
                                                        NS PR LAW SERVICES, LLC
                                                        1302 Avenida Ponce de Leon
                                                        Santurce, PR 00907
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                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed on June

30, 2023 with the Clerk of Court using CM/ECF which caused a copy to be served on all counsel of record.




                                                        /s/ Rebeca Martinez
                                                        Rebeca Martinez, Esq
                                                        Counsel for Plaintiffs




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